      Case 2:14-cr-00168-TOR            ECF No. 1677        filed 07/01/16      PageID.8395 Page 1 of 2

   PROB 12C                                                                               Report Date: July 1, 2016
(6/16)
                                                                                                    FILED IN THE
                                        United States District Court                            U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                            Jul 01, 2016
                                                                                               SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Randy Edsal Quentin Hewson               Case Number: 0980 2:14CR00168-TOR-9
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: June 17, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison 12 months                  Type of Supervision: Supervised Release
                          TSR - 48 months
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: December 9, 2015
 Defense Attorney:        Federal Defender’s                Date Supervision Expires: December 8, 2019


                                         PETITIONING THE COURT

                  To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

              1         Special Condition # 18: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On June 30, 2016, Mr. Hewson violated his conditions of supervised
                        release in Spokane, Washington, by using heroin. On June 30, 2016, Mr Hewson provided
                        a urine sample at Alcohol Drug Education Prevention and Treatment (ADEPT) that tested
                        presumptive positive for opiates. Mr. Hewson admitted to the undersigned over the phone
                        that he used heroin. On July 1, 2016, Mr. Hewson reported to the U.S. Probation Office and
                        signed a drug use admission form.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.
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Re: Hewson, Randy Edsal Quentin
July 1, 2016
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     July 1, 2016
                                                                     s/Corey M. McCain
                                                                     Corey M McCain
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [9 ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                     Signature of Judicial Officer

                                                                       +VMZ 
                                                                     Date
